  Case 23-13722        Doc 26  Filed 12/08/23 Entered 12/11/23 09:29:08               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )               BK No.:      23-13722
Robert E. Crimo, Jr.                          )
                                              )               Chapter: 7
                                              )
                                                              Honorable A. Benjamin Goldgar
                                              )
                                              )
               Debtor(s)                      )

      ORDER DENYING WITHOUT PREJUDICE MOTION FOR RELIEF FROM STAY

      This matter came before the court on the Creditor's Motion for Relief from Stay as to 1566
McDaniels Avenue, Highland Park, Illinois 60035 filed by Todd J Ruchman on behalf of HSBC Bank
USA, N.A.,

  IT IS HEREBY ORDERED:

   The creditor's motion for relief from stay is denied without prejudice for improper notice reasons as
stated on the record.




                                                           Enter:


                                                                    Honorable A. Benjamin Goldgar
Dated: December 08, 2023                                            United States Bankruptcy Judge
